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                        CENTRAL DISTRICT OF CALIFORNIA
14
                          EASTERN DIVISION – RIVERSIDE
15
     FAOUR ABDALLAH FRAIHAT, et al.,               Case No.: 19-cv-01546-JGB(SHKx)
16
                          Plaintiffs,
17                 v.                              NOTICE OF MOTION AND
                                                   MOTION IN SUPPORT OF
18
     U.S. IMMIGRATION AND CUSTOMS                  APPOINTMENT OF A SPECIAL
19   ENFORCEMENT, et al.,                          MASTER
20
                          Defendants.              Hearing Date: February 22, 2021
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                                                   Hearing Time: 9:00 a.m.
22
                                                   Hon. Jesus G. Bernal
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 1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE THAT on February 22, 2021 at 9:00am, or at
 3 such other time as the Court may set the matter for hearing, Plaintiffs Faour
 4 Fraihat, Jimmy Sudney, Aristoteles Sanchez Martinez, Alex Hernandez, and
 5 Martin Munoz, each individually and on behalf of all others similarly situated,
 6 pursuant to Federal Rule of Civil Procedure 53 and any other applicable rule of
 7 civil procedure or law, will and hereby do move this Court for an order appointing
 8 a Special Master to ensure compliance by Defendants with the Court’s Order
 9 Granting Plaintiffs’ Motion for Preliminary Injunction (ECF 132) and the Court’s
10 Order Granting In Part And Denying In Part Plaintiffs’ Motion to Enforce April
11 20, 2020 Preliminary Injunction (ECF 240).
12          This Motion is based on this Notice of Motion, the accompanying
13 Memorandum in Support of Plaintiffs’ Motion for Appointment of a Special
14 Master, the supporting declarations, proposed order, all pleadings and papers filed
15 in this action, and such additional papers and arguments as may be presented at or
16 in connection with the hearing.
17          Plaintiffs have satisfied the requirements of Local Rule 7-3. The parties
18 engaged in extensive correspondence and two telephone conferences regarding
19 ongoing compliance issues during October, November, and December 2020. On
20 December 16, 2020, Plaintiffs notified Defendants that they intended to seek
21 appointment of a Special Master given ongoing compliance issues and provided
22 Defendants with a list of proposed names. The parties met and conferred via
23 telephone on December 23, 2020, and Defendants confirmed in writing on January
24 8, 2021, that the issues Plaintiffs seek to resolve through this motion could not be
25 resolved by agreement of the parties. See Declaration of Rosa Lee Bichell, ¶ 3.
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27                                                      1
     Fraihat v. ICE, Case No. 19-cv-01546-JGB(SHKx)
     Notice of Motion and Motion for Appointment of Special Master
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 1 DATED: January 21, 2021
 2
 3 Respectfully submitted,
 4
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 6 Veronica Salama                                          Mark Mermelstein
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   CENTER                                                   SUTCLIFFE LLP
 8
 9 /s/ Timothy P. Fox                                       /s/ Michael W. Johnson
                                                            Michael W. Johnson
10 Timothy P. Fox                                           Leigh Coutoumanos
   Elizabeth Jordan                                         Jessica Blanton
11 Maria del Pilar Gonzalez Morales                         Joseph Bretschneider
   CIVIL RIGHTS EDUCATION AND                               Timothy Ryan
12 ENFORCEMENT CENTER                                       WILLKIE FARR & GALLAGHER
                                                            LLP
13 /s/ Stuart Seaborn
14 Stuart Seaborn                                           /s/ Lisa Graybill
   Christina Brandt-Young                                   Lisa Graybill
15 Melissa Riess                                            NATIONAL IMMIGRATION LAW
   Rosa Lee V. Bichell                                      CENTER
16 DISABILITY RIGHTS
   ADVOCATES
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     Fraihat v. ICE, Case No. 19-cv-01546-JGB(SHKx)
     Notice of Motion and Motion for Appointment of Special Master
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